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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1841V
                                        UNPUBLISHED


    ROBERT BACHANT,                                         Chief Special Master Corcoran

                        Petitioner,                         Filed: November 23, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barre Syndrome (GBS)
                       Respondent.


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.

Mark Kim Hellie, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT 1

       On December 4, 2019, Robert Bachant filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a table injury of Guillain-Barre
Syndrome (GBS) as a result of his December 22, 2016 influneza (“flu”) vaccination.
Petition at 1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

      On November 20, 2020, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c)



1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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Report at 1. Specifically, Respondent indicates that

      Medical personnel at the Division of Injury Compensation Programs,
      Department of Health and Human Services (“DICP”), have reviewed the
      petition and medical records filed in the case. It is respondent’s position that
      petitioner has satisfied the criteria set forth in the Vaccine Injury Table
      (“Table”) and the Qualifications and Aids to Interpretation (“QAI”). 42 C.F.R.
      §§ 100.3(a)(XIV)(D), 100.3(c)(15).

Id. at 4. Respondent further indicates that “[t]he scope of damages to be awarded is
limited to petitioner’s GBS and its related sequelae only.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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